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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

LEROY TENNART, ET AL.                             CIVIL ACTION

VERSUS                                            NO. 17-179-JWD-EWD

CITY OF BATON ROUGE, ET AL.


MAX GELLER                                        CIVIL ACTION

VERSUS                                            NO. 17-324-JWD-EWD

CITY OF BATON ROUGE, ET AL.


NIKOLE SMITH, ET AL.                              CIVIL ACTION

VERSUS                                            NO. 17-436-JWD-EWD

CITY OF BATON ROUGE, ET AL.


SHONTA JACKSON                                    CIVIL ACTION

VERSUS                                            NO. 17-438-JWD-EWD

CITY OF BATON ROUGE, ET AL.


BLAIR IMANI, ET AL.                               CIVIL ACTION

VERSUS                                            NO. 17-439-JWD-EWD

CITY OF BATON ROUGE, ET AL.


LISA BATISTE-SWILLEY                              CIVIL ACTION

VERSUS                                            NO. 17-443-JWD-EWD

CITY OF BATON ROUGE, ET AL.




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              DISCOVERY HEARING CONFERENCE REPORT AND ORDER

        A discovery conference was held before Magistrate Judge Erin Wilder-Doomes on January

23, 2019, with the following participants:

        PRESENT:          James W. Craig                                      John K. Etter
                          Eric A. Foley                                       Counsel for plaintiff
                          Shani M. Moore-O’Neal                               Max Geller
                          Mauricio Sierra
                          Counsel for plaintiffs,
                          Leroy Tennart, et al., Nikole
                          Smith, et al., Lisa Batiste-                        Candance Ford
                          Swilley and Shonta Jackson                          Counsel for defendants,
                                                                              City of Baton Rouge, et al.
                          John Adcock
                          Counsel for plaintiffs,                             Erika M. Cunningham
                          Blair Imani, et al.                                 Counsel for Louisiana
                                                                              State Police defendants1
                          Catherine St. Pierre
                          Counsel for defendants,
                          Sid J. Gautreaux, III and                           Craig E. Frosch
                          AIX Group                                           Counsel for Louisiana
                                                                              Sheriffs’ Association
                          Druit G. Gremillion, Jr.                            defendants
                          Cullen J. Dupuy
                          Counsel for Livingston
                          Parish Sherriff’s Office
                          defendants


        On December 4, 2018, the undersigned ordered the parties in each of the above-captioned

cases to jointly submit proposed written discovery requests limited to information necessary to

resolve the issues deferred in the pending Motions to Dismiss.2 On January 23, 2019, the parties



1
 Kathy D. Williams was also present on behalf of the Louisiana State Police. It does not appear that Ms. Williams
has formally enrolled in any of the above-captioned matters.
2
  Tennart, et al. v. City of Baton Rouge, et al., Civil Action No. 17-179-JWD-EWD (“Tennart”), R. Doc. 190; Geller
v. City of Baton Rouge, et al., Civil Action No. 17-324-JWD-EWD (“Geller”), R. Doc. 115; Nikole Smith, et al. v.
City of Baton Rouge, et al., Civil Action No. 17-436-JWD-EWD (“Smith”), R. Doc. 126; Shonta Jackson, o/b/o her
minor daughter, A.R. v. City of Baton Rouge, et al., Civil Action No. 17-438-JWD-EWD (“Jackson”), R. Doc. 71;
Imani, et al. v. City of Baton Rouge, et al., Civil Action No. 17-439-JWD-EWD (“Imani”), R. Doc. 148; Batiste-
Swilley v. City of Baton Rouge, et al., Civil Action No. 17-443-JWD-EWD (“Batiste-Swilley”), R. Doc. 124.



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discussed the various submissions regarding proposed discovery,3 and the undersigned provided

guidance regarding the scope of discovery that would be allowed at this stage of these proceedings.

        The undersigned explained that the primary focus of the written discovery at this juncture

is to identify which individual officers were involved in the arrests of particular plaintiffs (or, in

the case of Ms. Batiste-Swilley, the entry onto plaintiff’s property). The parties discussed the

scope of what constitutes “involvement” in an arrest, including whether information regarding who

was supervising or giving orders to individual defendants and who was involved in booking or

transporting individual plaintiffs would be included within that scope. The parties also discussed

the scope of discovery related to “failure to intervene” claims and alleged incidents taking place

once a plaintiff had been transported to jail. Additionally, the parties discussed the geographical

locations of particular arrests or entry onto property, and methods by which the geographical area

of each underlying incident could be appropriately narrowed in the revised discovery requests.

The parties also discussed limiting an individual defendant’s review of photos or videos to only

those images showing the particular arrest or entry onto property and the use of cross identification

techniques.

        The undersigned explained that each individual defendant responding to discovery would,

in keeping with the Federal Rules of Civil Procedure, be required to verify their responses to the

as-revised written discovery requests. The parties were strongly encouraged to confer regarding

revising the written discovery requests and were instructed to contact the undersigned should they

reach an impasse regarding the revisions. The undersigned stressed that this written discovery

may be the first step in this discovery process and that, to the extent individual defendants do not




3
 Tennart, R. Doc. 197; Geller, R. Docs. 120 & 123; Smith, R. Doc. 129; Jackson, R. Doc. 74; Imani, R. Doc. 155;
Batiste-Swilley, R. Doc. 127.



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provide sufficiently detailed responses, the undersigned might consider future requests for

additional discovery. The undersigned instructed the parties to confer in good faith to revise the

discovery requests, and that once propounded, defendants would have ninety (90) days to respond

to the discovery requests. Finally, although settlement was not specifically discussed during the

January 23, 2019 conference, should all parties in a particular case agree, a settlement conference

can be scheduled by contacting chambers at (225) 389-3584.

       Accordingly,

       IT IS HEREBY ORDERED that the parties shall jointly revise plaintiffs’ written

discovery requests in keeping with the parties’ January 23, 2019 discussion.

       IT IS FURTHER ORDERED that defendants shall have ninety (90) days from service of

the revised discovery requests to provide responses.

       IT IS FURTHER ORDERED that each individual defendant responding to the written

discovery requests shall verify his or her responses.

       IT IS FURTHER ORDERED, that to the extent all parties in a particular case agree, they

shall contact the undersigned’s chambers at (225) 389-3584 to schedule a settlement conference.

       Signed in Baton Rouge, Louisiana, on January 25, 2019.



                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE




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